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                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLUMBIA

 DENISE NEMETH-GREENLEAF,

 JASON JUDKINS,
                                                                Case No.
 JON MICHEL,
                                                                CLASS ACTION COMPLAINT
 DONNA NEMETH, and
                                                                (JURY TRIAL DEMANDED)
 MICHAEL RIFER, on behalf of themselves
 and all others similarly situated,

                                 Plaintiffs,
                        v.

 UNITED STATES OFFICE OF PERSONNEL
 MANAGEMENT
 1900 E. Street, NW
 Washington, DC 20415,

 CHARLES EZELL, Acting Director of U.S.
 Office of Personnel Management, in his
 official capacity,

 AMANDA SCALES, U.S. Office of Personnel
 Management Chief of Staff, in her official
 capacity,

 BRIAN BJELDE, U.S. Office of Personnel
 Management Senior Advisor, in his official
 capacity,

 GREGORY BARBACCIA, U.S. Federal Chief
 Information Officer, in his official capacity,

 UNITED STATES DEPARTMENT OF THE
 TREASURY,
 1500 Pennsylvania Ave NW
 Washington, DC 20500,

 SCOTT BESSENT, Secretary of the U.S.
 Department of the Treasury, in his official
 capacity,

                                 Defendants.




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                               CLASS ACTION COMPLAINT

         Plaintiffs Denise Nemeth-Greenleaf, Jason Judkins, Jon Michel, Donna Nemeth, and

Michael Rifer, 1 on behalf of themselves and all persons similarly situated, allege the following:

    I.   INTRODUCTION

         1.      A government contractor called the subject of this lawsuit—the unauthorized

access of millions of federal employees’ personal information—“the largest data breach and the

largest IT security breach in our country’s history.” 2 Defendants’ failure to protect government

employees’ privacy is the biggest breach of American trust by political actors since Watergate.

Plaintiffs bring this lawsuit to protect their privacy and uphold the rule of law.

         2.      Plaintiffs Denise Nemeth-Greenleaf, Jason Judkins, Jon Michel, Donna Nemeth,

and Michael Rifer, individually and on behalf of the proposed class described below, bring this

action for injunctive relief, actual damages and statutory damages against Defendant United States

Office of Personnel Management (“OPM”), Defendant Charles Ezell, Defendant Amanda Scales,

Defendant Brian Bjelde, Defendant Gregory Barbaccia, Defendant United States Department of

the Treasury (“Treasury Department”), and Defendant Scott Bessent (collectively, “Defendants”),

for Defendants’ unlawful ongoing, systemic, and continuous disclosure of personal, health, and

financial information—including personally identifiable information including employees’ full

name, address, Social Security Number, driver’s license, or U.S. Passport Number (“PII”),

personal health information including disability status, health insurance provider information, and

other medical records (“PHI”), and personal financial information including payroll, direct deposit,

and financial account numbers (“PFI”), (collectively, “Personal Sensitive Information” or


1
  Pursuant to Local Civil Rule 5.1(c)(1), a notice containing the required information for each
Plaintiff will be filed simultaneously under seal.
2
  Charlie Warzel and Ian Bogost, THE ATLANTIC, “The Government’s Computing Experts Say
They Are Terrified,” (Feb. 7, 2025), https://perma.cc/6XFF-75N6.


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“PSI”)—contained in Defendants’ records to non-governmental employee and private citizen Elon

Musk, as well as other non-governmental employee members of the “task force” associated with

the so-called “Department of Government Efficiency” (“DOGE”), and to any other unauthorized

person.

          3.      Millions of federal employees entrust their PSI to the federal government as a

condition of their employment, with the expectation that this data will be securely maintained.

This data is collected and maintained by various governmental agencies, all of whom have a

statutory duty pursuant to the Privacy Act of 1974 (“Privacy Act”) to protect that information from

improper disclosure and misuse.

          4.      Since the 2025 inauguration of President Donald J. Trump, Defendants OPM and

Treasury Department have not only failed to safeguard that data but have in fact willfully and

intentionally permitted it to be accessed by individuals outside the United States government

without legal justification and in violation of the Privacy Act. The individuals granted access to

the PSI are, essentially, hackers who have been given access to the data by the government itself.

They are individuals who lack authorization to access such information; they are non-government

employees who do not have proper security clearances and are uninhibited by the restrictions

required by law and placed on federal government employees. Such access is a breach of the

privacy rights afforded to federal employees as well as those afforded to American citizens in

general. These unlawful disclosures already have—and will continue to have—deleterious adverse

effects on federal workers that have caused them harm, including but not limited to actual damages,

ongoing vulnerability to further hacking, cyber-attacks, fraudulent activity, actual theft, and

ongoing mental distress.




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 II.   JURISDICTION AND VENUE

       5.      Pursuant to the Class Action Fairness Act, this Court has original jurisdiction

because the aggregate claims of the putative Class Members exceed $5 million, exclusive of

interest and costs, and at least one Plaintiff brings class claims on behalf of citizens of states

different than Defendants’ states of citizenship. 28 U.S.C. §§ 1332(d)(2) and (6).

       6.      This Court also has subject matter jurisdiction over the federal claim in this action

pursuant to 28 U.S.C. § 1331.

       7.      This Court likewise has subject matter jurisdiction over the Privacy Act of 1974

claim pursuant to 5 U.S.C. § 552a(g)(1).

       8.      This Court has personal jurisdiction over Defendants OPM and the Treasury

Department because they maintain headquarters in the District of Columbia and the relevant

conduct occurred in the District of Columbia.

       9.      This Court has personal jurisdiction over Defendants Ezell, Scales, Barbaccia,

Bjelde, and Bessent because they work as OPM Director, Chief of Staff, Chief Information Officer

(“CIO”), Senior Director, and Treasury Department Director, respectively, in the District of

Columbia offices, and the relevant conduct occurred in the District of Columbia.

       10.     Venue is proper in this District under 28 U.S.C. § 1391 because Defendants OPM

and Treasury Department are located in the District of Columbia and a substantial part of the events

and omissions giving rise to Plaintiffs’ claims occurred in the District of Columbia.

       11.     Venue is also proper in this district under 5 U.S.C. § 552a(g)(5) and 5 U.S.C. § 703.

III.   PARTIES

       12.     Defendant OPM is a U.S. agency with headquarters at 1900 E. Street, NW,

Washington, DC 20415. Defendant OPM is responsible for, among other things, managing the




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civil service of the federal government, recruitment of new government employees, and managing

their health insurance and retirement benefits program.

       13.      Defendant Ezell is the Acting Director of OPM and works at the agency

headquarters in Washington, D.C. Plaintiffs bring this action against Ezell in his official capacity

as Director of the OPM only.

       14.      Defendant Scales is the OPM Chief of Staff and works at the agency headquarters

in Washington, D.C. She assists Defendant Ezell in overseeing a broad range of policy and

administrative issues in the OPM, including oversight of its cybersecurity policies and practices.

Defendant Scales is a former private employee of Elon Musk and, upon information and belief, is

acting upon Mr. Musk’s orders. Plaintiffs bring this action against Scales in her official capacity

as OPM Chief of Staff only.

       15.      Defendant Bjelde is a Senior Advisor at OPM and works at the agency headquarters

in Washington, D.C. He assists Defendant Ezell in overseeing a broad range of policy and

administrative issues in the OPM, including oversight of its cybersecurity policies and practices.

Defendant Bjelde is a former employee of Elon Musk and, upon information and belief, is acting

upon Mr. Musk’s orders. Plaintiffs bring this action against Bjelde in his official capacity as OPM

Senior Advisor only.

       16.      Defendant Barbaccia is the CIO for OPM and works at the agency headquarters in

Washington D.C. He oversees OPM’s software systems and cybersecurity policies and practices.

Plaintiffs bring this action against Barbaccia in his official capacity as CIO for OPM only.

Defendants Ezell, Scales, Barbaccia, Bjelde, and OPM are referred to as the “OPM Defendants”

collectively.




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       17.     Defendant United States Department of Treasury is a federal agency with

headquarters at 1500 Pennsylvania Ave., NW, Washington, DC 20220. The Treasury Department

is responsible for, among other things, the Bureau of the Fiscal Service, which distributes trillions

of dollars in payments each year, including payments for federal employees’ salaries.

       18.     Defendant Bessent is the Secretary of the Treasury Department and works at the

agency headquarters in Washington, D.C. Plaintiffs bring this action against Bessent in his official

capacity as Director of the Treasury Department only. Defendants Bessent and Treasury

Department are referred to as “Treasury Department Defendants” collectively.

       19.     Plaintiff Denise Nemeth-Greenleaf is a resident of the State of Maine. She is

currently employed with the Department of the Navy, at Portsmouth Naval Shipyard in Kittery,

Maine, where she is an Industrial Program Specialist. Plaintiff Nemeth-Greenleaf learned about

Defendants’ breaches of her PSI from media reports. In response, Plaintiff Nemeth-Greenleaf

purchased identity theft protection service from Aura.

       20.     Plaintiff Jason Judkins is a resident of the Commonwealth of Massachusetts. He is

currently employed with the Bureau of Prisons at Federal Medical Center, Devens. Plaintiff

Judkins learned about the Defendants’ breaches of his PSI from media reports. In response,

Plaintiff Judkins purchased credit and identity theft monitoring through Aura Identity Protection.

       21.     Plaintiff Jon Michel is a resident of the State of Indiana. He is currently employed

with the United States Army Corp of Engineers at Cannelton Locks and Dam, where he works as

a Lock Operator. Plaintiff Michel learned about Defendants’ breaches of his PSI from media

reports. In response, Plaintiff Michel purchased credit and identity theft monitoring through

Lifelock by Norton.




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       22.     Plaintiff Donna Nemeth is a resident of the State of Colorado. She is currently

employed with the United States Department of Agriculture, Forest Service, at the Rocky

Mountain Regional Office, where she works as the Agency’s Press Officer. Plaintiff Nemeth

learned about Defendants’ breaches of her PSI from media reports. In response, Plaintiff Nemeth

purchased identity theft protection service from Aura.

       23.     Plaintiff Michael Rifer is a resident of Washington, D.C. He is currently employed

with the United States Agency for International Development (“USAID”), as the Managing

Director of Relationship Management Systems. Plaintiff Rifer first learned about the Defendants’

breaches of his PSI from media reports. In response, Plaintiff Rifer purchased advanced credit and

identity theft monitoring through American Express.

IV.    FACTUAL BACKGROUND

       A.      Defendants Treasury Department and OPM Permitted Unlawful Access to
               Information Protected by the Privacy Act

       24.     Millions of individuals, including Plaintiffs and proposed Class Members, engage

in financial transactions with the federal government. Defendant Treasury Department disburses

and collects trillions of dollars to and from the American people, including federal employees.

       25.     The Bureau of the Fiscal Service effectuates these financial transactions for the

Defendant Treasury Department. The Bureau of the Fiscal Service collects and maintains personal

data, including certain PSI, on federal employees such as names, Social Security numbers, birth

dates, and bank account information, to ensure the secure and timely transfer of funds to federal

employees for, among other things, wage compensation and tax purposes.

       26.     Defendant OPM operates as the federal government’s chief human resources

agency. In that capacity, Defendant OPM maintains electronic personnel files containing certain

PSI, through its “Enterprise Human Resources Integration” (“EHRI”) program. As part of the



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EHRI program, OPM manages access to the “electronic Official Personnel Folder” (“eOPF”) for

federal employees across agencies of the Executive Branch, and collects, integrates, and publishes

data for approximately 2 million federal employees on a bi-weekly basis.

       27.     PSI maintained by Defendant OPM includes, among other information, copies of

federal employees’ birth certificates, documents identifying their Social Security numbers and

birth dates, personal biographical information, disability status and health insurance program

enrollment information, 401(k) enrollment information, personnel action investigations, character

and fitness investigations, and more.

       28.     Defendant OPM also oversees background checks and security clearance

investigations, for which it collects and maintains additional sensitive personal information,

including PSI, for federal employees and applicants including passport information, residency

details, fingerprints, and records pertaining to employees’ psychological and emotional health and

finances.

       29.     Defendant OPM also handles many aspects of the federal employee recruitment

process, including managing federal job announcements, conducting background investigations

and security clearances, overseeing federal merit systems, managing personal retirement and

health benefits, providing training and development programs, and developing government

personnel policies. As part of the recruitment process, OPM collects and maintains federal

applicants’ records including PSI, background investigations, and security clearance forms.

       30.     Federal laws protect PSI from improper disclosure and misuse, including by barring

disclosure to individuals who lack a lawful and legitimate need for it or who lack proper security

clearance to access such information. Prior to January 2025, only individuals with a “need to

know” (i.e., individuals who are conducting background checks, and suitability determinations,




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among others) could access PSI; prior to gaining access, those personnel must have undergone

their own security clearance process.

       31.     Beginning shortly after the inauguration of President Donald Trump on January 20,

2025, Defendants OPM and Treasury Department illegally and improperly violated these

restrictions on disclosure of PSI by giving access to that PSI to individuals without a lawful or

legitimate need for such data and without their having undergone the security clearance process.

       32.     The “Department of Governmental Efficiency” or “DOGE” was established by

presidential executive order on January 20, 2025, with the stated purpose of downsizing the federal

government by abolishing entire federal agencies and terminating massive numbers of federal

employees. It is purportedly headed by Elon Musk, the billionaire CEO and founder of Tesla and

SpaceX and the owner of X (formerly Twitter). At the time of DOGE’s creation and continuing

through the beginning of the breach of Plaintiffs’ PSI here, Musk was not a federal employee in

any capacity. Musk has been accused of implementing anti-worker policies, union-busting, and

instituting large employee layoffs without regard for the rights of employees across all his

companies. All DOGE associates are individuals who currently, or previously have, worked for

Musk at his private companies.

       33.     In late January, Elon Musk, with the assistance of individuals who were not

employees of any federal agency and lacked a lawful or legitimate need for such data, sought

access to the records maintained by the Treasury Department and/or the Bureau of the Fiscal

Service.

       34.     Days after being sworn in as Secretary of the Treasury, Defendant Bessent

improperly granted DOGE-affiliated individuals full access to the Bureau of the Fiscal Service’s

data, and the computer systems that house such data, which includes Plaintiffs’ PSI. Defendant




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Bessent did so without legal justification, and without making any efforts to ensure that disclosures

were made consistent with Treasury Department policies. Contrary to policy, Defendants

knowingly provided access to PSI maintained by Defendant Treasury Department to individuals

who had not obtained security clearance, who had not taken the required annual Cyber Security

and Privacy Awareness training courses, and who were not accessing that information for a

legitimate purpose such as fraud detection and payment/benefits processing.

       35.     For example, in or around late January 2025, Defendant Treasury Department gave

Marko Elez, a 25-year-old engineer whose limited career includes working for two Elon Musk

Companies, direct access to Treasury Department systems responsible for nearly all payments

made by the United States, including payments to federal workers such as the Plaintiffs and the

proposed Class Members. Mr. Elez was not, at the time, a government employee with the proper

security clearance or training to access these data or systems. 3

       36.     Likewise, also in late January 2025, employees at OPM were instructed to provide

information on federal employees to Defendant Scales, who worked for xAI, a private corporation

of which Elon Musk is the Chief Executive Officer. Although Defendant Scales neither had the

requisite security clearance to access the data nor was a government employee at that time, she

was nevertheless allowed to access and control the massive database holding information on

millions of federal employees, including Plaintiffs’ PSI.

       37.     Defendants, including but not limited to Defendant Scales, then improperly granted

other DOGE-affiliated individuals, including Elon Musk, full access to OPM’s data and the



3
 On February 6, 2025, Elez resigned after the media reported on a number of 2024 posts from an
account connected to Elez on Musk’s X platform. Those posts included “Normalize Indian hate,”
and “I just want a eugenic immigration policy, is that too much to ask.” See Bobby Allyn and
Shannon Bond, NPR, “Member of Elon Musk’s DOGE team resigns after racist posts resurface,”
(Feb. 7, 20205), https://perma.cc/F7BF-DZVX.


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computer systems that house such data, doing so without legal justification, and without making

any efforts to ensure that disclosures were made consistent with OPM’s policies.

       38.     For example, unfettered and unlawful administrative access to PSI maintained by

OPM was granted to non-governmental employees Akash Bobba, Edward Coristine, Luke Farritor,

Gautier Cole Killian, Gavin Kliger, and Ethan Shaotran. Neither Mr. Musk nor these individuals

have proper security clearance to access these data or systems.

       39.     These individuals have limited work experience, most of which is for Musk-

associated companies. Akash Bobba recently graduated from college and previously interned at

Meta and Palantir, a technology firm. Edward Coristine is a 2022 high school graduate who served

as an intern at Musk’s Neuralink and goes by the nickname of “bigballs” on LinkedIn. Luke

Farritor is a former intern at Musk’s SpaceX who is now listed as an “executive engineer.” Gautier

Killian attended two years of college after graduating high school and was, as of February 2, 2025,

simply listed as a “volunteer” with DOGE. Gavin Kliger most recently worked for the AI company

Databricks; his social media posts include one titled “The Curious Case of Matt Gaetz: How the

Deep State Destroys Its Enemies.” Ethan Shaotran reported in September that he was a senior at

Harvard and was a previous runner-up in a hackathon held by xAI, Musk’s AI company. Notably,

Edward Coristine was fired from a previous data security internship with Path Network after he

leaked internal information to competitors. 4

       40.     These actions represent “a dramatic shift in the way the government’s business has

traditionally been conducted.” 5 Normally, access to government databases is highly restricted,

with strict, differential controls on what a government employee, contractors, and civil-service


4
  Jason Leopold et al., BLOOMBERG, “Musk’s DOGE teen was fired by cybersecurity firm for
leaking company secrets,” (Feb. 7, 2025), https://perma.cc/7N54-FA5F.
5
  Charlie Warzel and Ian Bogost, THE ATLANTIC, “The Government’s Computing Experts Say
They Are Terrified,” (Feb. 7, 2025), https://perma.cc/6XFF-75N6.


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government workers may access versus the limited data that a political appointee may access, and

with limited visibility into the system as a whole by design. 6

        41.     Government security protocols are so strict that a contractor plugging a non-

government-issued computer into an ethernet port in a government agency office is normally

considered a “major security violation.” 7 From a security perspective, that Defendants have

allowed these individuals access likely without proper security clearances is “madness.” 8

        42.     That is because even with “read only” access to Plaintiffs’ PSI—which Plaintiffs

do not concede is the highest level of access Defendants have so far provided to unauthorized

users—“Musk’s people could easily find individuals in databases or clone entire servers and

transfer that secure information somewhere else.” 9 And whatever data is siphoned now, including

Plaintiffs’ PSI, “could be [Musk’s] forever.” 10

        43.     This access is also plainly unlawful.

        44.     At no point prior to permitting unauthorized individuals access to Plaintiffs’ PSI

did any of the Defendants seek the written consent of the Plaintiffs or proposed Class Members,

as is required by law.

        45.     Further, it is clear from public reporting that sensitive agency information,

including Plaintiffs’ PSI, is being used in ways that suggest Defendants’ willful, intentional, and

flagrant disregard of Plaintiffs’ rights and basic security best practices.

        46.     For example, representatives from Elon Musk’s U.S. DOGE Service have fed

sensitive data from across the U.S. Department of Education into artificial intelligence software to



6
  See id.
7
  Id.
8
  Id.
9
  Id.
10
   Id.


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probe the agency’s programs and spending. 11 According to two people with knowledge of the

DOGE team’s actions, “[t]he AI probe includes data with personally identifiable information for

people who manage grants, as well as sensitive internal financial data[.]” 12 The DOGE team aims

to repeat this process across federal agencies:

        The DOGE team plans to replicate this process across many departments and
        agencies, accessing the back-end software at different parts of the government and
        then using AI technology to extract and sift through information about spending on
        employees and programs, including DEI initiatives, according to another person
        familiar with the DOGE process, who also spoke on the condition of anonymity
        because they were not authorized to describe it. 13

        47.      In fact, following a lawsuit from 19 state attorney generals against President Donald

Trump, and the Treasury Department Defendants, a federal district court judge concluded that

there were sufficient grounds for a temporary restraining order to enjoin defendants from granting

access to the Treasury payment systems to political appointees, special government employees,

and any government employee outside of the Treasury Department. This extraordinary relief was

granted because such access increases the risk of “disclosure of sensitive and confidential

information and the heightened risk that the [Treasury payment systems] will be more vulnerable

to hacking[,]” combined with the likelihood that the States would prevail on the merits on their

claims. 14

        48.      This unlawful and flagrant intrusion into federal employee’s privacy is

unprecedented.




11
   Hannah Natanson et al., THE WASHINGTON POST, “Elon Musk’s DOGE is feeding sensitive
federal data into AI to target cuts,” (Feb. 6, 2025), https://perma.cc/3JGS-FUHR.
12
   Id.
13
   Id.
14
   State of New York et al. v. Donald J. Trump et al., 1:25-cv-01144-JAV, ECF No. 6 at 2
(S.D.N.Y.).


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         B.       Plaintiffs and Proposed Class Members Were and Are Harmed Because of
                  Defendants’ Violations of the Privacy Act

         49.      Federal workers such as the Plaintiffs and proposed Class Members cannot avoid

having PSI for themselves and their family members maintained in government records and

government record-keeping systems.

         50.      Defendants’ actions in granting DOGE-affiliated individuals full, continuous, and

ongoing access to that information means that these employees have no assurance that their PSI

will receive the protection that federal law affords.

         51.      Permitting access to protected information puts the PSI for the Plaintiffs and

proposed Class Members at real risk, making them vulnerable to fraud, cyber-attack, and actual

theft.

         52.      Permitting access to protected information also puts Plaintiffs, and proposed Class

Members, at great personal risk. Indeed, on February 4, 2025, a website called “DEI Watch List”

gained national attention. The website included photos, names and other information on federal

employees who had worked on Diversity, Equity, and Inclusion (“DEI”) initiatives and/or attended

DEI trainings. The type of work performed by federal employees, as well as certain trainings they

gave or attended, is information maintained by Defendant OPM. Initially, the photos of federal

employees were published under the headline “Targets.”

         53.      Due to Defendants’ willful, intentional, and flagrant disregard of Plaintiffs’ and

Class Members’ privacy rights, Plaintiffs and Class Members have suffered and will continue to

suffer damages, including actual damages within the meaning of the Privacy Act, pecuniary losses,

anxiety, and emotional distress. They have suffered, or are at risk of suffering from:

                  a) The loss of the opportunity to control how their PSI is used;




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               b) The compromise, publication, and/or theft of their PSI and the PSI of their

                  family members;

               c) Out of pocket costs associated with the prevention, detection, and recovery from

                  identify theft and/or unauthorized use of accounts, including financial and

                  medical accounts;

               d) Lost opportunity costs associated with effort expended and the loss of

                  productivity from addressing and attempting to mitigate any consequences from

                  OPM and Treasury breaches, including but not limited to efforts spent

                  researching how to prevent, detect, contest and recover from data misuse;

               e) The continued risk to their PSI, and the PSI of their family members, which

                  remains in OPM’s and Treasury’s possession and is subject to further

                  unauthorized uses so long as Defendants fail to take adequate and appropriate

                  measures to protect disclosure to DOGE-related individuals; and

               f) Current and future costs in terms of time, effort, and money that will be

                  expended to monitor, prevent, detect, contest, and repair the impact of the

                  compromised PSI data caused by Defendants OPM and Treasury Department.

V.   CLASS ALLEGATIONS

       54.     Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs bring this

action on behalf of themselves and all others similarly situated. This action satisfies the

numerosity, commonality, typicality, adequacy, predominance and superiority requirements of

Rule 23.

       55.     The proposed class is defined as:

               Nationwide Class: All current, former, and prospective employees of
               the United States whose personal sensitive information (“PSI”) was



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               accessed without their prior written authorization from OPM and
               Department of Treasury beginning in January 2025.

       56.     Plaintiffs reserve the right to modify or amend the definition of the proposed Class

before the Court determines whether certification is appropriate.

       57.     Excluded from the Class are Defendants, including Defendants’ agents, officers and

directors, and all judges assigned to hear any aspect of this litigation, as well as their immediate

family members.

       58.     The members of the Class are so numerous that joinder is impractical. The Class

consists of thousands of members, the identity of whom is within the knowledge of and can be

ascertained only by resort to OPM’s records.

       59.     The Plaintiffs’ claims are typical of the claims of the Class they seek to represent.

Plaintiffs Nemeth-Greenleaf, Judkins, Michel, Nemeth, and Rifer, like all members of the class,

are former, current, and prospective employees of the federal government who provided sensitive

personal information to Defendants who relied to their detriment on Defendants to not provide

unauthorized access to their personal information.

       60.     There are numerous questions of law and fact common to the Class and those

common questions predominate over any questions affecting only individual Class Members.

       61.     Among the questions of law and fact common to the Class are:

               a.      Whether Defendants failed to establish appropriate administrative,

                       technical, and physical safeguards to ensure the security and confidentiality

                       of records and to protect against known and anticipated threats or hazards

                       to the security and integrity of these records, including unauthorized access

                       by government and non-government employees;




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               b.      Whether Defendants disclosed Plaintiffs’ and Class Members’ PSI without

                       their prior written consent;

               c.      Whether Defendants’ conduct was willful or with flagrant disregard for the

                       security of Plaintiff and Class Members’ PSI;

               d.      Whether Defendants provided unauthorized access to Plaintiffs’ PSI that is

                       stored and/or maintained through OPM and the Treasury Department;

               e.      Whether Defendants failed to disclose to Plaintiffs and Class Members that

                       they provided unauthorized access to Plaintiffs’ and the Class Members’

                       PSI, including to government employees and/or non-government

                       employees without prior written consent;

               f.      The proper method or methods by which to measure damages and equitable

                       relief; and

               g.      Whether the Class Members are entitled to declaratory and injunctive relief.

       62.     Plaintiffs’ claims are typical of the claims of other Class Members. Among other

things, Plaintiffs and Class Members are all former, current, and prospective employees of the

federal government who provided sensitive personal information to OPM and the Treasury

Department as a condition of their employment, and who suffer damages as a result of Defendants

providing unauthorized access to their PSI, including to non-government and unauthorized

government employees without prior written approval.

       63.     Plaintiffs are committed to the vigorous prosecution of this action. Plaintiffs

understand the nature of class action proceedings and this action specifically, and they are able

and willing to fulfill the duties of class representatives. Plaintiffs have retained competent counsel

experienced in the prosecution of class actions and, in particular, class actions on behalf of




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government employees and regarding unauthorized access to Class Members’ personal sensitive

information. Accordingly, Plaintiffs are adequate representatives and will fairly and adequately

protect the interests of the Class.

        64.     A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. Since the amount of each individual Class Member’s claim is

small relative to the complexity of the litigation, and due to the resources of Defendants, few Class

Members could afford to seek legal redress individually for the claims alleged herein. Therefore,

absent a class action, the Class Members will lack a viable remedy to address Defendants’

misconduct.

        65.     Even if Class Members themselves could afford such individual litigation, the court

system could not. Given the complex legal and factual issues involved, individualized litigation

would significantly increase the delay and expense to all parties and to the Court. Individualized

litigation would also create the potential for inconsistent or contradictory rulings. By contrast, a

class action presents far fewer management difficulties, allows claims to be heard which might

otherwise go unheard because of the relative expense of bringing individual lawsuits, and provides

the benefits of adjudication, economies of scale and comprehensive supervision by a single court.

        66.     Plaintiffs know of no difficulty to be encountered in the maintenance of this action

that would preclude its maintenance as a class action.

VI.     CAUSE OF ACTION

       VIOLATION OF UNITED STATES 5 U.S.C. § 552a PRIVACY ACT OF 1974
               (“PRIVACY ACT”) AGAINST ALL DEFENDANTS
                 (On Behalf of Plaintiffs and the Nationwide Class)

        67.     Plaintiffs incorporate each and every allegation above as if fully set forth herein.

        68.     OPM and the Treasury Department are each an “agency” within the meaning of the

Privacy Act.


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       69.     Pursuant to 5 U.S.C. § 552a(b), agencies are prohibited from disclosing “any record

which is contained in a system of records by any means of communication to any person, or to

another agency, except pursuant to a written request by, or with the prior written consent of, the

individual to whom the record pertains.”

       70.     Pursuant to 5 U.S.C. § 552a(e)(10), “[e]ach agency that maintains a system of

records shall . . . establish appropriate administrative, technical, and physical safeguards to insure

the security and confidentiality of records and to protect against any anticipated threats or hazards

to their security or integrity which could result in substantial harm, embarrassment, inconvenience,

or unfairness to any individual on whom information is maintained.”

       71.     OPM and the Treasury Department obtained and preserved Plaintiffs’ and Class

Members’ PSI in a system of records during the recruiting and security check processes.

       72.     OPM and the Treasury Department are therefore prohibited from disclosing federal

applicants’ PSI under 5 U.S.C. § 552a(b) and are responsible for establishing appropriate

“safeguards to insure the security and confidentiality of records and to protect against any

anticipated threats or hazards to their security or integrity” under 5 U.S.C. § 552a(e)(10).”

       73.     OPM and the Treasury Department are, and at all relevant times were required by

law to comply with both FISMA and the Modernization Act. OPM and the Treasury Department

are also responsible for ensuring that its cybersecurity systems comply with 5 U.S.C. § 552a and

other rules and regulations governing cybersecurity practices.

       74.     However, through a continuous course of conduct beginning in January 2025,

Defendants intentionally, willfully, and with flagrant disregard failed to administer OPM and the

Treasury Department to comply with FISMA.




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       75.        Specifically, OPM Defendants and Treasury Defendants were required—but

failed—to take several steps to comply with applicable security rules and regulations including but

not limited to:

                  a) Provide for development and maintenance of minimum controls required to

                     protect federal information and information systems, 44 U.S.C. § 3551(3);

                  b) Provide a mechanism for improved oversight of federal agency information

                     security programs, including through automated security tools to continuously

                     diagnose and improve security, 44 U.S.C. § 3551(4);

                  c) Maintain “information security,” defined as protecting information and

                     information systems from unauthorized access, use, disclosure, disruption,

                     modification, or destruction in order to provide, in relevant part, confidentiality,

                     which means preserving authorized restrictions on access and disclosure,

                     including means for protecting personal privacy and proprietary information,

                     44 U.S.C. § 3552(3)(B);

                  d) Ensure that all personnel are held accountable for complying with the agency-

                     wide information security program, 44 U.S.C. § 3554(a)(7); and,

                  e) Ensure that all data breaches—including unauthorized disclosure or access to

                     protected employee data, such as Plaintiffs’ PSI—are reported to Congress,

                     including information about how the breach occurred and an estimate of the

                     number of individuals affected by the breach and assessment of risk of harm to

                     those individuals, 44 U.S.C. § 3554(c)(1)(A)(iii).

       76.        Through a continuous course of conduct, the OPM Defendants and Treasury

Defendants thus willfully, intentionally and with flagrant disregard refused to take steps to




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implement “appropriate safeguards to insure the security and confidentiality of records and to

protect against any anticipated threats or hazards to their security or integrity,” including by giving

access to Plaintiffs’ PSI data stored on OPM and Treasury Department computer systems to

individuals without a lawful or legitimate need for such data, without proper security clearances

to access such data, and, in some cases, without those individuals being government employees at

the time of disclosure.

       77.     Defendants’ actions resulted in (1) the disclosure of Plaintiffs and Class Members’

records without prior written consent in violation of 5 U.S.C. § 552a(b) and, ultimately, (2) the

“substantial harm, embarrassment, inconvenience, or unfairness” to Plaintiffs and Class Members

that 5 U.S.C. § 552a(e)(10) is designed to protect against.

       78.     As a result of the Defendants’ conduct, Plaintiffs and Class Members have suffered

and will continue to suffer actual damages and pecuniary losses within the meaning of the privacy

act. Such damages have included or may include without limitation:

               a) The loss of the opportunity to control how their PSI is used;

               b) The compromise, publication, and/or theft of their PSI and the PSI of their

                   family members;

               c) Out of pocket costs associated with the prevention, detection, and recovery from

                   identify theft and/or unauthorized use of accounts, including financial and

                   medical accounts;

               d) Lost opportunity costs associated with effort expended and the loss of

                   productivity from addressing and attempting to mitigate any consequences from

                   the OPM and Treasury breaches, including but not limited to efforts spent

                   researching how to prevent, detect, contest and recover from data misuse;




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                e) The continued risk to their PSI, and the PSI of their family members, which

                   remains in OPM’s and Treasury’s possession and is subject to further

                   unauthorized uses so long as both fail to take adequate and appropriate

                   measures to protect disclosure to DOGE-related individuals; and

                f) Current and future costs in terms of time, effort, and money that will be

                   expended to monitor, prevent, detect, contest, and repair the impact of the

                   compromised PSI data caused by Defendants OPM and Treasury Department.

       79.      Plaintiffs and Class Members are thus entitled to relief pursuant to 5 U.S.C. §§

552a(g)(1)(D) and (g)(4).

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs and the Class demand a jury trial on all claims so triable and

judgment as follows:

       1.       Certify this case as a class action, appoint Plaintiffs as class representatives, and

appoint Plaintiffs’ counsel to represent the Class;

       2.       Award Plaintiffs and Class members appropriate relief, including actual and

statutory damages;

       3.       Award equitable, injunctive, and declaratory relief as may be appropriate;

       4.       Award pre-judgment interest at the maximum rate permitted by applicable law;

       5.       Award costs and disbursements assessed by Plaintiffs in connection with this

action, including reasonable attorneys’ fees pursuant to applicable law; and

       6.       Award such other relief as this Court deems just and proper.




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                                 DEMAND FOR JURY TRIAL

      Plaintiffs and all others similarly situated hereby demand trial by jury on all issues in this

complaint that are so triable as a matter of right.

Dated: February 11, 2025                      Respectfully submitted,
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